CaS€ 8-18-75807-38'[ DOC 179 Filed 10/08/18

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Attorneyfor certain ESCO Claimams

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

 

 

X
In re:
BIG APPLE ENERGY, LLC
Debtor.
-~- X
In re:
CLEAR CHOICE ENERGY, LLC
Debtor.
X

 

Ent€red 10/08/18 10231:01

Chapter ll

Case No. 18-758()7-ast

Chapter ll
Case No. 18-758()8-ast

Jointly Administered

DECLARATION OF UNITED ENERGY SUPPLY CORP.

Victor Caron, pursuant to 28 U.S.C. § 1746, declares under the penalty of perjury:

l. l arn the President of United Energy Supply Corp. (“United”), one of the ESCO

Claimants in this action.

2. I am fully familiar With the facts set forth and circumstances described herein

based upon my personal knowledge

3. I submit this Declaration as required by the Order (I) Authorizz'ng Debtors T 0

Reject Agreemenis; (II) Redirecling Payments From Utz`lz`rz'es,' And (II]) Terminatz'ng Securz'ly

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Inlerests.

4. This will confirm and represent that: (i) United has not received any funds
directly from any, (ii) United has not executed or delivered to any utility a request that such
utility terminate any payment direction letter directing such utility to direct payments to United
to an account of the Debtors, nor has United otherwise requested that any utility direct any
payments previously being made to an account of the Debtors to its own account, and (iii) to the
best knowledge of United, each payment direction letter among United, the Debtors, and any
utility remains in full force and effect

Dated: October 5, 2018

 

 

Victor Caron, President

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